  Case 18-33730-hdh11 Doc 304 Filed 03/19/21                 Entered 03/19/21 15:38:28      Page 1 of 5



Steven T. Holmes
State Bar No. 00794918
CAVAZOS HENDRICKS POIROT, P.C.
Suite 570, Founders Square
900 Jackson Street
Dallas, TX 75202
Phone: (214) 573-7302
Fax: (214) 573-7399
Email: sholmes@chfirm.com

Attorneys for Jeffrey H. Mims, Liquidating Trustee

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

IN RE:                                                   §
                                                         §
REVOLUTION MONITORING, LLC                               §              CASE NO. 18-33730-hdh
                                                         §
                                                         §
REVOLUTION MONITORING                                    §              CASE NO. 18-33731-hdh
MANAGEMENT LLC,                                          §
                                                         §
REVOLUTION NEUROMONITORING LLC                           §              CASE NO. 18-33732-hdh
                                                         §
        Debtors.                                         §              (Jointly Administered)
                                                         §
                                    AMENDED NOTICE OF HEARING
 PLEASE TAKE NOTICE that a hearing on the Motion to Compel Turnover of Property to the Estate
[Docket No. 300] will be held before the Honorable Harlin D. Hale on Thursday, April 1, 2021 at
1:30 P.M. via WebEx videoconference only.

        The Webex hearing link may be accessed here:

        https://us-courts.webex.com/meet/hale

Parties are requested to review the attached Webex information prior to the hearing.

                                           Respectfully submitted,
                                           /s/ Steven T. Holmes
                                           Steven T. Holmes
                                           State Bar No. 00794918
                                           CAVAZOS HENDRICKS POIROT, P.C.
                                           900 Jackson Street, Suite 570
                                           Dallas, TX 75202
                                           Direct Dial: (214) 573-7305
                                           Fax: (214) 573-7399
                                           Email: sholmes@chfirm.com
                                           Attorneys for Jeffrey H. Mims, Liquidating Trustee
  Case 18-33730-hdh11 Doc 304 Filed 03/19/21              Entered 03/19/21 15:38:28        Page 2 of 5



                                    CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing was served this
  th
19 day of March, 2021 by electronic transmission through the Court’s automated Case Management
and Electronic Docketing System for the U. S. Bankruptcy Court for the Northern District of Texas; on
all parties-in-interest submitting to service of papers in this case by said means and via U.S. first-class
mail on the following:

 Medical Practice Solutions, LLC                      Quality Control Service Consultants, LLC
 Adriana Villareal                                    c/o David E. Turner
 3400 Waterview Parkway, Suite 305                    18302 Noyce Road
 Richardson, TX 75080-1472                            Crosby, TX, 77532-7807

 FTGU Medical Billing, LLC
 CONDON TOBIN SLADEK THORNTON
 NERENBERG PLLC
 Aaron Z. Tobin
 Kendal B. Reed
 Leah K. Lanier
 8080 Park Lane, Suite 700
 Dallas, Texas 75231



                                                      /s/ Steven T. Holmes
                                                      Steven T. Holmes




AMENDED NOTICE OF HEARING                                                                     PAGE 2 OF 2
    Case 18-33730-hdh11 Doc 304 Filed 03/19/21                      Entered 03/19/21 15:38:28    Page 3 of 5

                                  WebEx Hearing Instructions
                                          Judge Harlin D. Hale
Pursuant to General Order 2020-14 issued by the Court on May 20, 2020, all hearings before Judge Harlin D.
Hale are currently being conducted by WebEx videoconference unless ordered otherwise.

For WebEx Video Participation/Attendance:
Link:   https://us-courts.webex.com/meet/hale

For WebEx Telephonic Only Participation/Attendance:
Dial-In: 1-650-479-3207
Access code: 476 420 189

Participation/Attendance Requirements:
•       Counsel and other parties in interest who plan to actively participate in the hearing are encouraged to
        attend the hearing in the WebEx video mode using the WebEx video link above. Counsel and other
        parties in interest who will not be seeking to introduce any evidence at the hearing and who wish to
        attend the hearing in a telephonic only mode may attend the hearing in the WebEx telephonic-only
        mode using the WebEx dial-in and access code above.
•       Attendees should join the WebEx hearing at least 10 minutes prior to the hearing start time. Please be
        advised that a hearing may already be in progress. During hearings, participants are required to keep
        their lines on mute at all times that they are not addressing the Court or otherwise actively
        participating in the hearing. The Court reserves the right to disconnect or place on permanent
        mute any attendee that causes any disruption to the proceedings. For general information and tips
        with respect to WebEx participation and attendance, please see Clerk’s Notice 20-04:
        https://www.txnb.uscourts.gov/sites/txnb/files/hearings/Webex%20Information%20and%20Tips_0.pdf
•       Witnesses are required to attend the hearing in the WebEx video mode, and live testimony will
        only be accepted from witnesses who have the WebEx video function activated. Telephonic
        testimony without accompanying video will not be accepted by the Court. The Court may consider
        special requests for other appearance options on a case-by case-basis.
•       All WebEx hearing attendees are required to comply with Judge Hale’s Telephonic and
        Videoconference Hearing Policy (included within Judge Hale’s Judge-Specific Guidelines):
        https://www.txnb.uscourts.gov/content/judge-harlin-d-hale

Exhibit Requirements:
•       Any party intending to introduce documentary evidence at the hearing must file an exhibit list in the
        case with a true and correct copy of each designated exhibit filed as a separate, individual attachment
        thereto so that the Court and all participants have ready access to all designated exhibits.

Notice of Hearing Content and Filing Requirements:
IMPORTANT: For all hearings that will be conducted by WebEx only:
•       The Notice of Hearing filed in the case and served on parties in interest must: (1) provide notice that
        the hearing will be conducted by WebEx videoconference only, (2) provide notice of the above WebEx
        video participation/attendance link, and (3) attach a copy of these WebEx Hearing Instructions or
        provide notice that they may be obtained from Judge Hale’s hearing/calendar site:
        https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-hales-hearing-dates
•       When electronically filing the Notice of Hearing via CM/ECF select “at https://us-
        courts.webex.com/meet/hale” as the location of the hearing (note: this option appears immediately
        after the first set of Wichita Falls locations). Do not select Judge Hale’s Dallas courtroom as the
        location for the hearing.
Case 18-33730-hdh11 Doc 304 Filed 03/19/21                  Entered 03/19/21 15:38:28            Page 4 of 5
 CONNECTION INSTRUCTIONS FOR PARTICIPATING IN A WEBEX VIRTUAL HEARING
The court will allow participation in a virtual hearing using either of the following two methods. Please
connect at least 10 minutes prior to the hearing time. It is recommended that attorneys discuss the logistics
of the WebEx appearance with their clients/witnesses at least 48 hours before the hearing.
Option 1: Using the WebEx app on your smartphone, tablet, laptop, or desktop.
Please connect using only one device. Using two or more devices may cause audio feedback issues.
If using a phone or tablet for video, it should be set in a stationary position. Holding a phone or tablet in
your hand while speaking does not yield a good video for the court.
NOTE: If you are experiencing audio issues when using the WebEx application, you may use the “Call
Me At” selection under “Audio Connection” to move just the audio portion of the WebEx conference to
your telephone.
Option 2: Call in via phone (audio only).
Webex dial-in number: 1-650-479-3207 (access code: 476 420 189).

HELPFUL HINTS AND ETIQUETTE

•   Please use the mute function when you are not speaking. Please be aware that sometimes the court
    mutes everyone when there is background noise. When you want to speak, make sure you are not on
    mute. Call-in users should dial *6 to unmute your line.

•   Remember to state your name for the record each time before speaking and speak slowly and clearly
    so the Court can get a good record.

•   Use headphones whenever possible, especially if using a desktop PC with external speakers. We have
    found that newer iPhones provide the best visual and audio feed – better than most desktop computers.
    If you are on a personal computer, headphones or earbuds are required for those who need to speak
    during the hearing.

•   During examination, attorneys and witnesses should use a separate camera and microphone when
    possible. To avoid feedback, parties using separate devices must not be in the same room. The Court
    may consider special requests on a case-by-case basis.
•   WebEx participants may use the "share" button to easily share their screen or document with the
    Court or other WebEx participants. Press “stop sharing” to remove the presentation from the meeting.

•   When making an appearance from a vehicle, please park in a safe location with windows rolled up (to
    minimize background distraction and noise) and use a headset that is ear-to-phone (not the vehicle’s
    hands-free speaker-phone option).

•   Suggestions for participating in a WebEx hearing from home: If you are having connectivity
    problems, turn off devices that may be using bandwidth on your home network. Devices or
    applications such as Facetime, Roku, streaming media players, video games, or large downloads can
    negatively impact the audio and video quality of the WebEx meeting.

•   Participants are reminded that they should wear attire suitable for court.

•   Participants who wish to test their WebEx connection or the share screen functionality in advance of
    the hearing may arrange a “practice run” by contacting the courtroom deputy.



EXHIBITS AND DEMONSTRATIVE AIDS
Exhibits should be filed ahead of time by the date that they would normally be exchanged pursuant to our
local rules using the "list (witness/exhibit/generic)" OR "notice (generic)” OR “Support/Supplemental
Case 18-33730-hdh11 Doc 304 Filed 03/19/21
document” event in ECF.
                                                           Entered 03/19/21 15:38:28           Page 5 of 5

Demonstrative aids and Power Points should also be filed prior to the hearing, if possible. If not, WebEx
has the ability to allow you to share your screen, or a particular document, with everyone in the hearing. If
these documents are admitted as exhibits, they would then have to be filed after the hearing.
During the hearing, lawyers can refer to (and offer) their exhibits by referencing the exhibit’s docket
number for the court and all to access. After the hearing, the court will create a Minute Entry reflecting
which exhibits were admitted. You should consider emailing exhibits to witnesses ahead of time since they
may not have access to PACER.
